Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 1 of 21




    EXHIBIT
       A
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 2 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 3 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 4 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 5 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 6 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 7 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 8 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 9 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 10 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 11 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 12 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 13 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 14 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 15 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 16 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 17 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 18 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 19 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 20 of 21
Case 4:22-cv-00442-MWB Document 1-1 Filed 03/23/22 Page 21 of 21
